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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

VALERIE MCMULLEN                            )
                                            )
      Plaintiff,                            )
                                            )
              v.                            )   Civil Action No. 14-1983-JDB
                                            )
SYNCHRONY BANK, et. al.                     )
                                            )
      Defendants.                           )

               DEFENDANTS KARIM STEWARD AND ONE WORLD FITNESS
                   ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

      COMES NOW Defendants Karim Steward and One World Fitness LLC, and hereby

submit their Answer to Plaintiff Valerie McMullen’s Amended Complaint. For their Answer,

Mr. Steward and One World Fitness LLC state the following:

   1. Defendants Steward and One World Fitness deny the allegations in ¶ 1 that pertain
      to actions taken by Defendants Steward and One World Fitness; to the extent that
      these allegations are reiterated later in the Amended Complaint, Defendants
      Steward and One World Fitness address facts in the paragraph where they are
      specifically raised. Defendants Steward and One World Fitness do not have
      sufficient information to address the statements regarding Defendants Bullen and
      Banks.
   2. Defendants Steward and One World Fitness admit the allegations in ¶ 2.
   3. Defendants Steward and One World Fitness admit the allegations in ¶ 3.
   4. Defendants Steward and One World Fitness admits the allegations in ¶ 4
   5. Defendants Steward and One World Fitness do not have the requisite knowledge or
      information to admit, and thus deny ¶ 5.
   6. Defendants Steward and One World Fitness do not have the requisite knowledge or
      information to admit, and thus deny ¶ 6.
   7. Defendants Steward and One World Fitness do not have the requisite knowledge or
      information to admit, and thus deny ¶ 7.
   8. Defendants Steward and One World Fitness deny the allegations in ¶8. Defendants
      Steward and One World Fitness denies that Defendant Bullen was a principle owner
      of One World Fitness and affirmatively state that Defendant Bullen was affiliated
      with One World Fitness only through Bullen Wellness. Defendants Steward and One
      World Fitness deny all allegations of a conspiracy to commit fraud with Defendant
      Bullen, and affirmatively state that neither Defendant Steward nor Defendant One
      World Fitness had any intent to deceive any One World Fitness customer.
      Defendants Steward and One World Fitness do not have the requisite knowledge or


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    information to admit to Defendant Bullen’s state of residence, principle place of
    business, or Defendant Bullen’s state of mind or intent.
9. Defendants Steward and One World Fitness deny in part and admit in part the
    allegations contained in ¶ 9. Defendant Steward denies that he lives in Maryland
    and affirmatively states that he lives in the District of Columbia. Defendants
    Steward and One World Fitness deny any allegation of conspiracy or scheme to
    defraud. Defendant Steward admits that he was the principle owner of One World
    Fitness and Bullen Wellness.
10. Defendants Steward and One World Fitness admit in part and deny in part.
    Defendant Steward and One World Fitness admit that One World Fitness was a
    business operated in the District of Columbia, and organized as a limited liability
    company in the District of Columbia. Defendant Steward and One World Fitness
    deny that Defendant Bullen was ever a principle of One World Fitness or that One
    World Fitness was an alter ego of Defendant Bullen.
11. Defendants Steward and One World Fitness deny the allegations contained in ¶11.
12. Defendant Steward denies the allegation that Washington Chiropractic was his alter
    ego, and affirmatively states that he took no actions on behalf of Washington
    Chiropractic and received no financial benefit from Washington Chiropractic.
    Defendants Steward and One World Fitness do not have sufficient information to
    admit the remaining allegations contained in ¶ 12, and therefore deny.
13. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 13, and therefore deny.
14. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 14, and therefore deny.
15. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 15, and therefore deny.
16. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 16, and therefore deny.
17. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 17, and therefore deny.
18. Defendants Steward and One World Fitness deny the allegations in ¶ 18 and
    affirmatively state that Defendants Steward and One World Fitness obtained no
    unauthorized lines of credit and made no unauthorized charges.
19. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 19, and therefore deny.
20. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 20, and therefore deny.
21. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 21, and therefore deny.
22. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 22, and therefore deny.
23. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 23, and therefore deny.
24. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 24, and therefore deny.



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25. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 25, and therefore deny.
26. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 26, and therefore deny.
27. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 27, and therefore deny.
28. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 28, and therefore deny.
29. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 29, and therefore deny.
30. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 30, and therefore deny.
31. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 31, and therefore deny.
32. Defendants Steward and One World Fitness deny all allegations in ¶ 32, and
    affirmatively state that they did not have a scheme to defraud any customers with
    Defendants Bullen, Bullen Wellness, or Washington Chiropractic.
33. Defendants Steward and One World Fitness admit in part and deny in part the
    allegations contained in ¶ 33. Defendants Steward and One World Fitness admit
    that the post was made. However, Defendants Steward and One World Fitness deny
    the veracity of the statement. Additionally, Defendants Steward and One World
    Fitness do not have sufficient information to verify the identity of the poster, and so
    deny the statement.
34. Defendants Steward and One World Fitness admit in part and deny in part the
    allegations contained in ¶ 34. Defendants Steward and One World Fitness admit
    that the post was made. However, Defendants Steward and One World Fitness deny
    the veracity of the statement. Additionally, Defendants Steward and One World
    Fitness do not have sufficient information to verify the identity of the poster, and so
    deny the statement.
35. Defendants Steward and One World Fitness admit in part and deny in part the
    allegations contained in ¶ 35. Defendants Steward and One World Fitness admit
    that the post was made. However, Defendants Steward and One World Fitness deny
    the veracity of the statement. Additionally, Defendants Steward and One World
    Fitness do not have sufficient information to verify the identity of the poster, and so
    deny the statement.
36. Defendants Steward and One World Fitness admit in part and deny in part the
    allegations contained in ¶ 36. Defendants Steward and One World Fitness admit
    that the post was made. However, Defendants Steward and One World Fitness deny
    the veracity of the statement. Additionally, Defendants Steward and One World
    Fitness do not have sufficient information to verify the identity of the poster, and so
    deny the statement.
37. Defendants Steward and One World Fitness admit in part and deny in part the
    allegations contained in ¶ 37. Defendants Steward and One World Fitness admit
    that the post was made. However, Defendants Steward and One World Fitness deny
    the veracity of the statement. Additionally, Defendants Steward and One World
    Fitness do not have sufficient information to verify the identity of the poster, and so


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    deny the statement. Defendant Steward does not have sufficient information to
    identify the text message, and so denies the allegations contained therein.
38. Defendants Steward and One World Fitness deny the allegations in ¶ 38. At no time
    did Defendants Steward or One World Fitness take any action meant to defraud
    customers. Defendants Steward and One World Fitness lack sufficient knowledge or
    information to admit to any action or intent taken by Defendant Bullen, and
    therefore deny.
39. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 39, and therefore deny.
40. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 40, and therefore deny.
41. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 41, and therefore deny.
42. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 42, and therefore deny.
43. Defendants Steward and One World Fitness deny the allegation in ¶ 43 that there
    was a common scheme to defraud One World Fitness customers, and affirmatively
    state that there was no intent to defraud.
44. Defendants Steward and One World Fitness deny the allegation in ¶44 that Ms.
    McMullen can adequately represent the interests of the class because there are
    affirmative defenses that can be raised specifically against Ms. McMullen.
45. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 45, and therefore deny.
46. Defendants Steward and One World Fitness deny the allegations contained ¶ 46
    because it draws a legal conclusion and mischaracterizes One World Fitness and Mr.
    Steward’s conduct as illegal.
47. Defendants Steward and One World Fitness reassert and incorporate by reference
    the answers set forth in paragraphs 1 through 46 as if fully set forth herein.
48. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 48, and therefore deny.
49. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 49, and therefore deny.
50. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 50, and therefore deny.
51. 46. Defendants Steward and One World Fitness do not have sufficient
    information to admit the allegations contained in ¶ 51 and therefore deny.
52. 47.     Defendants Steward and One World Fitness do not have sufficient
    information to admit the allegations contained in ¶ 52, and therefore deny.
53. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 53, and therefore deny.
54. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 54, and therefore deny.
55. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 55 and therefore deny.
56. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 56, and therefore deny.


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57. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 57, and therefore deny.
58. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 58, and therefore deny.
59. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 59, and therefore deny.
60. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 60, and therefore deny.
61. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 61, and therefore deny.
62. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 62, and therefore deny.
63. Defendants Steward and One World Fitness believe that ¶ 63 of Plaintiff’s Amended
    Complaint is unnecessarily numbered and is actually a prayer for relief. To the
    extent that ¶ 63 is construed to contain any factual allegations, the Defendants
    Steward and One World Fitness deny all allegations contained therein.
64. Defendants Steward and One World Fitness reassert and incorporate by reference
    the answers set forth in paragraphs 1 through 63 as if fully set forth herein.
65. Defendants Steward and One World Fitness deny the allegations in ¶ 65, and
    affirmatively state that Ms. McMullen was advised of the cancellation policy, was
    advised of the financing information, and was advised that the financing was
    through a different company—namely Chase Health Advantage.
66. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations contained in ¶ 66, and therefore deny.
67. Defendants Steward and One World Fitness deny the allegations in ¶67 and
    affirmatively state that they did not obtain any unauthorized line of credit on behalf
    of Ms. McMullen.
68. Defendants Steward and One World Fitness deny the allegations in ¶ 68 and
    affirmatively state that they did not make any unauthorized charges against the
    unauthorized lines of credit.
69. Defendants Steward and One World Fitness deny the allegations in ¶ 69 and
    affirmatively state that they did not make any unauthorized charges against the
    unauthorized lines of credit.
70. Defendants Steward and One World Fitness deny the allegations contained in ¶ 70.
71. Defendants Steward and One World Fitness believe that ¶ 71 of Plaintiff’s Amended
    Complaint is unnecessarily numbered and is actually a prayer for relief. To the
    extent that ¶ 71 is construed to contain any factual allegations, the Defendants
    Steward and One World Fitness deny all allegations contained therein.
72. Defendants Steward and One World Fitness reassert and incorporate by reference
    the answers set forth in paragraphs 1 through 72 as if fully set forth herein.
73. Defendants Steward and One World Fitness deny the allegations in ¶ 73 and
    affirmatively state that they did not make any unauthorized charges against the
    unauthorized lines of credit, nor did Defendants Steward and One World Fitness
    take out any unauthorized lines of credit.
74. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations in ¶ 74, and therefore deny.


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75. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations in ¶ 75 and therefore deny.
76. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations in ¶ 76 and therefore deny.
77. Defendants Steward and One World Fitness deny the allegation in ¶77, and
    affirmatively state that they did not engage in any conspiracy with the Defendant
    Banks or with Defendant Bullen.
78. Defendants Steward and One World Fitness deny the allegation in ¶ 78, and
    affirmatively state that they did not engage in any conspiracy with the Defendant
    Banks or with Defendant Bullen.
79. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations in ¶ 79 and therefore deny.
80. Defendants Steward and One World Fitness admit in part and deny in part the
    allegations contained in ¶ 80. Defendants Steward and One World Fitness admit
    that One World Fitness customers were offered the option of paying through
    healthcare financing. Defendant Steward admits that he processed applications for
    One World Fitness customers to obtain healthcare financing and collected personal
    information as required to process those applications. Defendants Steward and One
    World Fitness deny that the applications were completed or processed in a
    fraudulent manner.
81. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations in ¶ 81 and therefore deny.
82. Defendants Steward and One World Fitness deny the allegations in ¶ 82 and
    affirmatively state that One World Fitness was not a shell limited liability company,
    but rather was a legitimate and longstanding small business. Defendants Steward
    and One World Fitness also state that Bullen Wellness was not a shell limited
    liability company, but rather was used to affiliate Dr. Bullen with One World Fitness
    without making him a full staff member at One World Fitness.
83. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegations in ¶ 83 and therefore deny.
84. Defendants Steward and One World Fitness believe that ¶ 84 of Plaintiff’s Amended
    Complaint is unnecessarily numbered and is actually a prayer for relief. To the
    extent that ¶ 84 is construed to contain any factual allegations, the Defendants
    Steward and One World Fitness deny all allegations contained therein.
85. Defendants Steward and One World Fitness reassert and incorporate by reference
    the answers set forth in paragraphs 1 through 84 as if fully set forth herein.
86. Defendants Steward and One World Fitness deny the allegations in ¶ 86, and
    affirmatively state that Ms. McMullen’s information was only collected to process
    her healthcare financing application with Defendant Chase with her consent.
87. Defendants Steward and One World Fitness deny the allegations in ¶ 87, and
    affirmatively state that they made no unauthorized charges and obtained no
    unauthorized lines of credit.
88. Defendants Steward and One World Fitness do not have sufficient information to
    admit the allegation contained in ¶ 88 and therefore deny.




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89. Defendants Steward and One World Fitness deny the allegations in ¶ 89 and
   affirmatively state that they never fraudulently obtained a line of credit for Ms.
   McMullen.
90. Defendants Steward and One World Fitness do not have sufficient information to
   admit the allegation contained in ¶ 90 and therefore deny.
91. Defendants Steward and One World Fitness deny the allegation in ¶ 91 and
   affirmatively state that they did not obtain any unauthorized line of credit and took
   no unauthorized payments.
92. Defendants Steward and One World Fitness do not have sufficient information to
   admit the allegation contained in ¶ 92 and therefore deny.
93. Defendants Steward and One World Fitness believe that ¶ 93 of Plaintiff’s Amended
   Complaint is unnecessarily numbered and is actually a prayer for relief. To the
   extent that ¶ 93 is construed to contain any factual allegations, the Defendants
   Steward and One World Fitness deny all allegations contained therein.
94. Defendants Steward and One World Fitness reassert and incorporate by reference
   the answers set forth in paragraphs 1 through 93 as if fully set forth herein.
95. Defendants Steward and One World Fitness admit in part and deny in part the
   allegations in ¶ 95. Defendants Steward and One World Fitness admit that Ms.
   McMullen entered into a contract with One World Fitness when she renewed her
   membership at One World Fitness. Defendants Steward and One World Fitness do
   not have sufficient information to admit to the date of renewal, the renewal amount,
   the number of sessions that the renewal amount would cover, or any statements
   made by Mr. Steward at that time, and therefore deny this portion of the allegations.
96. Defendants Steward and One World Fitness do not have sufficient information to
   admit the allegations contained in ¶ 96 and therefore deny.
97. Plaintiff’s ¶ 97 contains a legal conclusion, which does not require any factual
   averments; but, out of an abundance of caution, Defendants Steward and One World
   Fitness deny the allegations contained therein.
98. Defendants Steward and One World Fitness do not have sufficient information to
   admit the allegation contained in ¶ 98 and therefore deny.
99. Defendants Steward and One World Fitness do not have sufficient information to
   admit the allegation contained in ¶ 99 and therefore deny.
100.       Defendants Steward and One World Fitness believe that ¶ 100 of Plaintiff’s
   Amended Complaint is unnecessarily numbered and is actually a prayer for relief.
   To the extent that ¶ 100 is construed to contain any factual allegations, the
   Defendants Steward and One World Fitness deny all allegations contained therein.
101.       Defendants Steward and One World Fitness reassert and incorporate by
   reference the answers set forth in paragraphs 1 through 101 as if fully set forth
   herein.
102.       Defendants Steward and One World Fitness admit in part and deny in part
   the allegations contained in ¶ 102. Defendants Steward and One World Fitness
   admit that at the time Ms. McMullen entered into the contract with One World
   Fitness and Bullen Wellness, that One World Fitness was a limited liability company
   and its LLC status had been revoked. Defendants Steward and One World Fitness
   deny that One World Fitness LLC was severely undercapitalized.



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103.       Defendants Steward and One World Fitness deny the allegations in ¶ 103 and
   affirmatively state that Defendant Bullen never owned or directed any part of One
   World Fitness, that the only joint ownership interest Defendants Steward and Bullen
   had was in Bullen Wellness, that Defendant Steward never owned any portion of
   Washington Chiropractic, and that there was no scheme or conspiracy to defraud
   customers of One World Fitness.
104.       Defendants Steward and One World Fitness deny all allegations contained in
   ¶ 104 and affirmatively state that One World Fitness and Defendant Bullen had a
   referral agreement to provide customers of One World Fitness an opportunity to get
   chiropractic care. This arrangement was in no way intended to promote fraudulent
   activity or to result in any identity theft.
105.       Defendants Steward and One World Fitness deny all allegations contained in
   ¶ 105 and affirmatively state that Defendant Bullen was affiliated with One World
   Fitness through Bullen Wellness, but was not employed by One World Fitness, and
   One World Fitness was never affiliated with Washington Chiropractic.
106.       Defendants Steward and One World Fitness deny all allegations contained in
   ¶ 106 and affirmatively state that no funds or assets were comingled.
107.       Defendants Steward and One World Fitness admit in part and deny in part
   the allegations contained in ¶ 107. Defendants Steward and One World Fitness
   admit that the corporate status has been revoked for One World Fitness and Bullen
   Wellness. Defendants Steward and One World Fitness do not have sufficient
   information to admit to the corporate status of Washington Chiropractic, and
   therefore deny.
108.       Defendants Steward and One World Fitness deny the allegations contained in
   ¶ 108 and affirmatively state that Defendants Steward One World Fitness did not
   comingle funds, that One World Fitness was not undercapitalized, and that One
   World Fitness and Bullen Wellness were operated as small businesses in the District
   of Columbia.
109.       Defendants Steward and One World Fitness deny the allegations contained in
   ¶ 109 and affirmatively state that at all times One World Fitness was a separate legal
   entity from Bullen Wellness and Washington Chiropractic, and that Mr. Steward
   acted at all times within the scope of the One World Fitness stated purpose and in
   furtherance of the business of One World Fitness. At no time, did Mr. Steward act in
   any way on behalf of Washington Chiropractic.
110.       Defendants Steward and One World Fitness reassert and incorporate by
   reference the answers set forth in paragraphs 1 through 109 as if fully set forth
   herein.
111.       Defendants Steward and One World Fitness deny the allegations contained in
   ¶ 111, and affirmatively state that at no time did they knowingly or intentionally
   obtain any unauthorized line of credit, improperly bill against any line of credit, or
   engage in any conduct that was meant to defraud Ms. McMullen.
112.       Defendants Steward and One World Fitness do not have sufficient
   information to admit to the allegations contained in ¶ 112, and therefore deny.
113.       Defendants Steward and One World Fitness believe that ¶ 113 of Plaintiff’s
   Amended Complaint is unnecessarily numbered and is actually a prayer for relief.



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       To the extent that ¶ 113 is construed to contain any factual allegations, the
       Defendants Steward and One World Fitness deny all allegations contained therein.


                                  AFFIRMATIVE DEFENSES

       Defendants Steward and One World Fitness incorporate by reference all affirmative

defenses contained in the Answer to Original Complaint filed on February 17, 2015, at

docket number 27. In addition, the Defendants Steward and One World Fitness assert the

following affirmative defenses:

   A. Consent

   B. Failure to Mitigate

   C. Impairment of Recourse

In support of these defenses, Defendants Steward and One World Fitness state the

following:

   1. Ms. McMullen was a client of One World Fitness for a period of time beginning in

       2010.

   2. As part of starting the client relationship with One World Fitness, Ms. McMullen

       opened a health care financing account with Chase Health Advantage.

   3. Ms. McMullen was informed that this was a line of credit.

   4. Ms. McMullen renewed her membership and upon renewal engaged in another

       round of financing through Chase Health Advantage.

   5. Ms. McMullen primarily worked with one personal trainer for the duration of her

       relationship with One World Fitness.

   6. That personal trainer was terminated from One World Fitness.




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   7. After termination of the personal trainer that Ms. McMullen had been working with,

       One World Fitness offered to continue working with Ms. McMullen by providing her

       with another personal trainer. Ms. McMullen declined and immediately stopped

       training at One World Fitness.

   8. Ms. McMullen was not in contact with One World Fitness until several months later.

   9. One World Fitness attempted to work with Ms. McMullen to provide her a refund.

   10. Ms. McMullen stopped communicating with One World Fitness regarding her refund

       sometime in late 2011.

       WHEREFORE, Defendants Steward and One World Fitness respectfully request that

this Honorable Court:

1. Dismiss all actions brought against the Steward Defendants as frivolous;

2. Deny all relief requested by Plaintiff;

3. Order the Plaintiff pay reasonable attorney’s fees and costs relating to the necessity of

responding to this matter;

4. Grant any further relief as the Court deems just and proper in this matter.

                                                          By: Karim Steward
                                                          One World Fitness

                                                          Respectfully submitted,

                                                            /s/ Patrick C. Horrell
                                                          Patrick C. Horrell, DCBN # 996974
                                                          Rosenau LLP
                                                          1801 18th St., N.W., Suite # 9
                                                          Washington, DC 20009
                                                          (202) 387-8680 (Office)
                                                          (202) 387-8682 (Fax)
                                                          Patrick.Horrell@rosenaulaw.com




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 2nd day of March, 2016, a copy of the foregoing Answer

to Amended Complaint was filed by e-filing, and served on the following parties: Brendan

Klaproth, Esq. (Attorney for Plaintiff); Robert Wick, Esq. and Eric Bosset, Esq. (Attorneys

for Defendant JP Morgan Chase & Co.); Brenda S. Everman and Marcos Sassos, Esq.

(Attorneys for Defendant Synchronoy Bank); Sidney S. Friedman, Esq. (Attorney for Bullen

Defendants).

                                                            /s/ Patrick C. Horrell
                                                          Patrick C. Horrell, DCBN # 996974




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